             Case 1:18-vv-01846-UNJ Document 25 Filed 10/17/19 Page 1 of 2




          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1846V
                                       Filed: July 8, 2019
                                         UNPUBLISHED


    DOLORES DE ALATORRE PEREZ, as
    Mother and Natural Guardian of Minor,
    D.A., and ANTONINO ALATORRE                               Special Processing Unit (SPU);
    GUTIERREZ, as Father and Natural of                       Ruling on Entitlement; Concession;
    Minor, D.A.,                                              Table Injury; Tetanus Diphtheria
                                                              acellular Pertussis (Tdap) Vaccine;
                          Petitioner,                         Meningococcal Vaccine; Vasovagal
    v.                                                        Syncope

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On December 3, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that DA suffered a syncopal episode upon receiving a
Tetanus Diphtheria acellular Pertussis (“Tdap”) and Meningococcal vaccines on June
22, 2017. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
         Case 1:18-vv-01846-UNJ Document 25 Filed 10/17/19 Page 2 of 2




        On July 5, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent concluded that petitioner has satisfied the criteria set forth in
the recently revised Vaccine Injury Table (“Table”) and the Qualifications and Aids to
Interpretation (“QAI”) related to a vasovagal syncope episode after a Tdap and
meningococcal vaccination. Id. at 6. Respondent further agrees that petitioner
experienced more than six months of residual effects. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
